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                         EXHIBIT 3
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                     Generated by PitchBook for Chelsea Jerry, Hogan Lovells
                                                                                                         pbId: 53792-38



WP Engine | Private Company Profile

Highlights


        PitchBook Analyst Coverage                                Employees

                                                                  1000
                                                                  As of 03-Oct-2024




 Last Deal Details                                                Post Valuation

 $187.86M                                                         $250.00M
 Dividend Recapitalization 14-Aug-2023                            As of 04-Jan-2018


 Total Raised to Date                                             Valuation Step-up

 $395.16M                                                         2.03x
 As of 14-Aug-2023                                                Later Stage VC (Series C) - Later Stage VC (Series C1)



General Information

Description
Provider of online content creation and hosting services designed to create and manage websites. The company caters to
designing, building, managing and powering experiences through a comprehensive suite of developer applications, thereby
simplifying website creation, optimization and management as well as enterprise-grade infrastructure.

Most Recent Financing Status (as of 21-Dec-2023)

The company completed a $187.86 million of dividend recapitalization on August 14, 2023. Previously, the company raised $340
million of debt financing on an undisclosed date.



Website                       www.wpengine.com                    Year                2010
                                                                  Founded
Entity Types                  Private Company
                              Acquirer                            Universes           Debt Financed, Private Equity, Venture
                                                                                      Capital
Legal Name                    WPEngine, Inc.
                                                                  Employees           1,000
Business Status               Profitable
Ownership Status              Privately Held (backing)
Financing Status              Private Equity-Backed
LinkedIn URL                  wpengine



Industries, Verticals & Keywords

                                                                                                                                     1
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Primary Industry                   Keywords
Systems and Information            security
Management
                                   enterprise hosting services
                                   wordpress hosting services
Other Industries
                                   wordpress services
Media and Information
                                   website management
Services (B2B)
                                   web application protection
IT Consulting and
Outsourcing                        hosting services
                                   website management
                                   software
                                   software solutions
                                   application security
                                   website workflow




Appears in PitchBook Analyst Market
Map
Q3 2024 - Infosec/Cybersecurity - VC          Q2 2024 - Infosec/Cybersecurity - VC      Q1 2024 - Infosec (aka Cybersecurity) -
Ecosystem                                     Ecosystem                                 Industry
7,670 Companies | Brendan Burke               7,612 Companies                           4,356 Companies

Q1 2024 - Infosec (aka Cybersecurity) -
VC Ecosystem
4,292 Companies | Brendan Burke



Contact Information

Primary Contact                                                     Primary Office
David Brolsma                                                       504 Lavaca Street
Chief Financial Officer                                             Suite 1000
david.brolsma@wpengine.com                                          Austin, TX 78701
Phone: +1 (877) 973-6446                                            United States
                                                                    Phone: +1 (877) 973-6446
                                                                    info@wpengine.com


Alternate Offices




                                                                                                                                  2
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Brisbane                                                                   Fortitude Valley
Brisbane, Queensland                                                       Level 3
Australia                                                                  315 Brunswick Street
                                                                           Fortitude Valley, Queensland 4006
                                                                           Australia


Limerick                                                                   London
Limerick                                                                   London
Ireland                                                                    England, United Kingdom


San Francisco
San Francisco, CA
United States
heather@wpengine.com




Financials



Key Metrics                                                        Fiscal Year                       Fiscal Year              12 Months Ending
                                                                        2018                              2023                           Dec 2023
Amounts in thousands, USD (except                            End: 31-Dec-2018                 End: 31-Dec-2023                Start: 31-Dec-2022
Ratios, Multiples & per share items)                                                                                              End: 31-Dec-2023

 Income Statement
Total Revenue                                                      132,000                           400,000                            400,000

    Revenue % Growth                                              +30.00%




Top 5 Similar Companies


#    Name          Competitor Financing HQ                    Primary Industry              Year Last Financing               Last Financing
                              Status    Location                                         Founded     Date/Type                       Amount

1    Automattic                   Venture    San              IT Consulting and               2005      2023/2ndary -
                                  Capital-   Francisco,       Outsourcing                                     Private
                                  Backed     CA
2    Acquia                       Private    Boston, MA       Business/Productivity           2007          2024/Debt                    $11.17M
                                  Equity-                     Software
                                  Backed
3    Newfold                      Private    Jacksonville,    Systems and                     1997          2023/Debt                   $515.00M
     Digital                      Equity-    FL               Information
                                  Backed                      Management
4    Optimizely                   Private    New York,        Business/Productivity           1994    2ndary - Private
                                  Equity-    NY               Software
                                  Backed



                                                                                                                                                 3
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5    Sitecore                      Private        San             Business/Productivity            2001          2023/Debt                       $406.50M
                                   Equity-        Francisco,      Software                                           Refin.
                                   Backed         CA



Comparisons


                                  WP Engine                       Automattic                     Acquia                          Newfold Digital


Description                    Provider of online content      Developer of open-source       Developer of a cloud-           Provider of cloud-based
                               creation and hosting            content management             based content                   web hosting, website
                               services designed to            systems designed to            management platform             design and online
                               create and manage               democratize publishing         designed to build, deliver      marketing services
                               websites.                       and commerce.                  and optimize digital            intended for small and
                                                                                              experiences.                    medium enterprises.


Primary Industry               Systems and Information         IT Consulting and              Business/Productivity           Systems and Information
                               Management                      Outsourcing                    Software                        Management


HQ Location                    Austin, TX                      San Francisco, CA              Boston, MA                      Jacksonville, FL


Employees                      1000 | 2024                     2000 | 2024                    1207 | 2024                     4220 | 2024


Total Raised                   $395.16M                        $820.30M                       $22.93M                         $524.98M


Post Valuation                 $250.00M | 04-Jan-2018          $7.50B | 01-Aug-2021           $1.00B | 01-Nov-2019            $2.20B E | 10-Feb-2021


Last Financing Details         $187.86M |                      Undisclosed amount |           $11.17M | 2024/Debt -           $515.00M | 2023/Debt -
                               2023/Dividend                   2023/Secondary                 General                         General
                               Recapitalization                Transaction - Private

E Estimated



Patents

 1                     4                              2            0               0                      2
 Total Patents         Total Documents                Active       Pending         Expiring               Inactive
 Families              Applications and Grants                                     In next 12 mo


Top Patent Technology (CPC codes): Electric digital data processing

Portfolio Breakdown
Each of the company's patent is represented once by it's earliest filing date and it's representative technology classification




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Citations
Citations are defined as the number of unique patents that have made reference to the company's patent. Citations are often
used as a signal of patent value.

Most Cited Patents: All Years

#     Patent Title                                                                                                    Forward
                                                                                                                     Citations

1     Systems and methods for keyword research and content analysis                                                           9


2     Systems and methods for keyword research and content analysis                                                           1


3     Systems and methods for keyword research and content analysis                                                           0


4     Systems and methods for keyword research and content analysis                                                           0


Citations: Cites WP Engine

      Company                                                        Forward Citations        Total Active & Pending Patents

      Salesforce                                                                      3                                  9,544


      CA Technologies                                                                 2                                  4,582



                                                                                                                              7
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       Dell EMC                                                                                 2                                 17,415


       Ericsson                                                                                 1                                 87,194

Recent Patent Activity

Publication ID         Patent Title           Status   Activity Date Publication      Technology    Citations   Independent    First Filing
                                                                     Date                  (CPC)                     Claims           Date

US-9569535-B2          Systems and methods    Inactive 15-Aug-2023     14-Feb-2017                        24              1   24-Sep-2012
                       for keyword research
                       and content analysis


US-20140089290-A1      Systems and methods    Active   15-Aug-2023     27-Mar-2014     G06F16/951         13              3   24-Sep-2012
                       for keyword research
                       and content analysis


CA-2828329-A1          Systems and methods    Active   06-May-2023     24-Mar-2014     G06F16/951                         3   24-Sep-2012
                       for keyword research
                       and content analysis


CA-2828329-C           Systems and methods    Inactive 06-May-2023     02-Jan-2018     G06F16/951                         1   24-Sep-2012
                       for keyword research
                       and content analysis




Current Team (13)


Name                        Title             Board           Office          Phone                 Email
                                              Seats


Heather                Chief Executive           1          Austin, TX        +1 (877) 973-6446     heather@wpengine.com
Brunner                  Officer and
                        Chairwoman


David Brolsma          Chief Financial                      Austin, TX        +1 (877) 973-6446     david.brolsma@wpengine.com
                           Officer


Samuel Monti           Chief Financial                      Austin, TX        +1 (877) 973-6446     sam.monti@wpengine.com
                           Officer


Jason                 Chief Operating                       Austin, TX        +1 (877) 973-6446     jason.teichman@wpengine.com
Teichman                   Officer


Ramadass              Chief Technology                      Austin, TX        +1 (877) 973-6446     ramadass.prabhakar@wpengine.com
Prabhakar             Officer & Senior
                       Vice President,
                     Global Engineering


Annette             Chief People Officer                    Austin, TX        +1 (877) 973-6446     annette.alexander@wpengine.com
Alexander




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Chad Costello         General Counsel &                    Austin, TX       +1 (877) 973-6446    chad.costello@wpengine.com
JD                   Corporate Secretary


Mariano Dima         Independent Board          2          Austin, TX       +1 (877) 973-6446    mariano.dima@wpengine-
                           Director                                                              careers.com


Jason Cohen            Founder & Chief                     Austin, TX       +1 (877) 973-6446    jason@wpengine.com
                      Innovation Officer


Ezinne Udezue            Chief Product                     Austin, TX       +1 (512) 551-6000    ezinne.udezue@wpengine.com
                       Officer & Senior
                        Vice President


Tarsha                  Vice President,                    Austin, TX       +1 (877) 973-6446    tarsha.mccormick@wpengine.com
McCormick              Diversity, Equity,
                      Inclusion, Culture
                       and Engagement


Victor Yuan            Vice President of                   Austin, TX       +1 (877) 973-6446    victor.yuan@wpengine.com
                           Corporate
                         Development


Monica                 Vice President of                   Austin, TX       +1 (877) 973-6446    monica.cravotta@wpengine.com
Cravotta                   Corporate
                           Marketing



Current Board Members (4)


Name               Title                    Representing            Role            Since       Phone     Email


Gregory            Co-Chief Executive       Silver Lake             Board           Jan         +1
Mondre             Officer & Managing                               Member          2018        (855)
                   Partner                                                                      268-
                                                                                                2822


Heather            Chief Executive          WP Engine               Chief                       +1        heather@wpengine.com
Brunner            Officer and                                      Executive                   (877)
                   Chairwoman                                       Officer and                 973-
                                                                                                6446
                                                                    Chairwoman


Lee Wittlinger     Managing Director        Silver Lake             Board           Jan         +1        lee.wittlinger@silverlake.com
                                                                    Member          2018        (650)
                                                                                                233-
                                                                                                8120




                                                                                                                                     9
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Mark Gillett         Managing Director &       Silver Lake              Board          Jan          +1         mgillett@silverlake.com
                     Head of Value                                      Member         2018         (650)
                     Creation                                                                       233-
                                                                                                    8120



Deal History (8)

Category:      All Deals


#              Deal Type             Date           Amount           Raised to      Pre-Val          Post-Val         Status      Stage
                                                                     Date


8.             Dividend              14-Aug-        $187.86M         $395.16M                                         Completed   Profitable
               Recapitalization      2023

7.             Debt - General                       $340.00M         $395.16M                                         Completed   Profitable

6.             Debt - General        27-Mar-        $55.16M          $55.16M                                          Completed   Profitable
                                     2020

5.             Buyout/LBO            04-Jan-2018    $250.00M         $41.30M                         $250.00M         Completed   Profitable

4.             Later Stage VC        24-Mar-        $23.00M          $41.30M        $170.64M         $193.64M         Completed   Profitable
               (Series C1)           2015

3.             Later Stage VC        14-Jan-2014    $15.00M          $18.30M        $69.01M          $84.01M          Completed   Profitable
               (Series C)

2.             Early Stage VC        19-Sep-        $2.10M           $3.30M         $15.35M          $17.45M          Completed   Profitable
               (Series B)            2012

1.             Early Stage VC        15-Nov-        $1.19M           $1.19M         $3.87M           $5.07M           Completed   Startup
               (Series A)            2011


† Indicates an Add-On
E Estimated




CAP TABLE HISTORY (as of 24-Mar-2015)

 Stock       # Of Shares             Par Value      Original Issue    Liquidation    Liquidation Pref.          Conversion        %
             Authorized                             Price                            Multiple                   Price             Owned

 Series             6,000,000        $0.000100           $3.92           $3.92                 1x                   $3.92         11.88%
 C1

 Series             7,500,000        $0.000100           $2.09           $2.09                 1x                   $2.09         15.19%
 C

 Series             3,900,000        $0.000100           $0.54           $0.54                 1x                   $0.54         7.90%
 B

 Series             6,663,357        $0.000100           $0.18           $0.18                 1x                   $0.18         13.50%
 A


Series Terms for: A, B, C, C1 (as of 24-Mar-2015)




                                                                                                                                         10
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  Liquidation Preferences                        Senior                 Anti-dilution Provisions            Weighted Average
  Participating vs. Non-participating            Non-participating      Board Voting Rights                 Yes
  Dividend Rights                                Yes


Deal #8: Dividend Recapitalization, $187.86M, Completed; 14-Aug-2023


Deal Info                                                            Company Info

Deal Types                    Dividend Recapitalization              Financing Status          Private Equity-Backed
Deal Date                     14-Aug-2023                            Business Status           Profitable
Deal Status                   Completed                              CEO/Lead Mgt              Heather Brunner
Financing Source              Debt                                   Site                      Austin, TX


Total Capital                                                        Debt

Deal Amount                                   $187.86M               Total New Debt                     $187.86M ‡
Total Invested Capital                        $187.86M
Raised to Date                                $395.16M **



Deal Synopsis

The company completed a $187.86 million of dividend recapitalization on August 14, 2023.

‡ Not necessarily a summation of individual debt figures
** Includes $395.16M of known debt; Does not include grant funding
E Estimated


Beneficiaries (1)


Beneficiary Name                            Comments


1. Silver Lake

E Estimated


Lenders & Debt Financings (9)


Debt Summary
Revolving Credit - Senior         $16.46M
Unitranche                        $6.83M
Unspecified Term Loan -           $164.57M
1st Lien

Revolving Credit - Senior: $16.46M




                                                                                                                               11
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Debt Instrument                                        Lender Name

Debt Amount:                        $16.46M
                                                       1. Blackstone               Amount:          $8.14M
Maturity Date:                      14-Aug-2029
                                                                                   Fund 1:          Blackstone Private
Seniority:                          Senior                                                          Credit Fund BDC
Spread:                             SOFR + 650                                     Fund 1 Amount:   $8.14M

                                                       2. Blackstone Credit and    Amount:          $6.67M
                                                          Insurance
                                                                                   Fund 1:          Blackstone
                                                                                                    Secured Lending
                                                                                                    Fund BDC
                                                                                   Fund 1 Amount:   $6.67M

                                                       3. Golub Capital            Fund 1:          Golub Capital BDC
                                                                                                    4, Inc.
                                                                                   Fund 2:          Golub Capital
                                                                                                    Direct Lending
                                                                                                    Unlevered Corp
                                                                                                    BDC

                                                       4. Monroe Capital           Amount:          $1.65M
                                                                                   Fund 1:          Monroe Capital
                                                                                                    Income Plus Corp
                                                                                                    BDC
                                                                                   Fund 1 Amount:   $1.65M

Unitranche: $6.83M
Debt Instrument                                        Lender Name

Debt Amount:                        $6.83M             1. Golub Capital            Amount:          $6.83M
Maturity Date:                      01-Aug-2029                                    Fund 1:          Golub Capital BDC
Spread:                             SOFR + 650                                     Fund 1 Amount:   $3.52M
Ticking Fee Comment:                None                                           Fund 2:          Golub Capital BDC
                                                                                                    3
Additional characteristics:         Unitranche
                                                                                   Fund 2 Amount:   $1.92M
Unitranche:                         Yes
Debt Commentary:                    None

Unspecified Term Loan - 1st Lien: $164.57M




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Debt Instrument                                                   Lender Name

Debt Amount:                          $164.57M
                                                                  1. Blackstone                 Amount:           $81.40M
Maturity Date:                        14-Aug-2029
                                                                                                Fund 1:           Blackstone Private
Security:                             1st Lien                                                                    Credit Fund BDC
Spread:                               SOFR + 650                                                Fund 1 Amount:    $81.40M
Additional characteristics:           Unitranche
                                                                  2. Blackstone Credit and      Amount:           $66.67M
Unitranche:                           Yes                            Insurance
                                                                                                Fund 1:           Blackstone
                                                                                                                  Secured Lending
                                                                                                                  Fund BDC
                                                                                                Fund 1 Amount:    $66.67M

                                                                  3. Golub Capital              Amount:           $1.31M
                                                                                                Fund 1:           Golub Capital BDC
                                                                                                                  4, Inc.
                                                                                                Fund 1 Amount:    $1.07M
                                                                                                Fund 2:           Golub Capital
                                                                                                                  Direct Lending
                                                                                                                  Unlevered Corp
                                                                                                                  BDC
                                                                                                Fund 2 Amount:    $0.24M

                                                                  4. Monroe Capital             Amount:           $16.50M
                                                                                                Fund 1:           Monroe Capital
                                                                                                                  Income Plus Corp
                                                                                                                  BDC
                                                                                                Fund 1 Amount:    $16.50M

E Estimated


Advisors (2)


#    Advisor Name                                Service Type     Hired By                   Comments


1.   Blackstone                                  Debt Financing   WP Engine


2.   Blackstone Credit and Insurance             Debt Financing   WP Engine



Deal #7: Debt - General, $340.00M, Completed


Deal Info                                                              Company Info

Deal Types                                Debt - General               Financing Status            Private Equity-Backed
Deal Status                               Completed                    Business Status             Profitable
Financing Source                          Debt                         CEO/Lead Mgt                Heather Brunner
                                                                       Site                        Austin, TX


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Total Capital                                                            Debt

Deal Amount                                   $340.00M                   Total New Debt                         $340.00M ‡
Total Invested Capital                        $340.00M
Raised to Date                                $395.16M **



Deal Synopsis

The company raised $340 million of debt financing on an undisclosed date.

‡ Not necessarily a summation of individual debt figures
** Includes $395.16M of known debt; Does not include grant funding
E Estimated


Lenders & Debt Financings (2)


Debt Summary
Revolving Credit                  $30.00M
Unspecified Term Loan             $10.00M
Unspecified Term Loan             $300.00M

Revolving Credit: $30.00M
Debt Instrument                                                      Lender Name

Debt Amount:                         $30.00M                         1. Alter Domus                 Lender Role:      Admin Agent, Col
                                                                                                                      Agent

Unspecified Term Loan: $10.00M
Debt Instrument

Debt Amount:                                                                          $10.00M

Unspecified Term Loan: $300.00M
Debt Instrument                                                      Lender Name

Debt Amount:                         $300.00M                        1. Alter Domus                 Amount:           $10.00M
                                                                                                    Lender Role:      Admin Agent, Col
                                                                                                                      Agent

E Estimated


Advisors (1)


#    Advisor Name                              Service Type          Hired By                   Comments


1.   Simpson Thacher & Bartlett                Legal Advisor         WP Engine                  Lead Partner:                Jennifer
                                                                                                                             Hobbs




                                                                                                                                        14
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Deal #6: Debt - General, $55.16M, Completed; 27-Mar-2020


Deal Info                                                                Company Info

Deal Types                             Debt - General                    Financing Status          Private Equity-Backed
Deal Date                              27-Mar-2020                       Business Status           Profitable
Deal Status                            Completed                         CEO/Lead Mgt              Heather Brunner
Financing Source                       Debt                              Site                      Austin, TX


Total Capital                                                            Debt

Deal Amount                                     $55.16M                  Total New Debt                         $55.16M ‡
Total Invested Capital                          $55.16M
Raised to Date                                  $55.16M **



Deal Synopsis

The company raised $55.16 million of debt financing on March 27, 2020.

‡ Not necessarily a summation of individual debt figures
** Includes $55.16M of known debt; Does not include grant funding
E Estimated


Lenders & Debt Financings (2)


Debt Summary
Revolving Credit                  $35.85M
Unspecified Term Loan -           $19.31M
1st Lien

Revolving Credit: $35.85M
Debt Instrument                                                     Lender Name

Debt Amount:                         $35.85M                        1. Oaktree Capital        Amount:               $35.85M
                                                                       Management
Maturity Date:                       27-Mar-2026                                              Fund 1:               Oaktree Specialty
                                                                                                                    Lending BDC
Ticking Fee Comment:                 None
                                                                                              Fund 1 Amount:        $26.35M
Debt Commentary:                     None
                                                                                              Fund 2:               Oaktree Strategic
                                                                                                                    Income II BDC
                                                                                              Fund 2 Amount:        $9.50M

Unspecified Term Loan - 1st Lien: $19.31M




                                                                                                                                   15
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Debt Instrument                                                  Lender Name

Debt Amount:                           $19.31M                   1. Oaktree Capital          Amount:            $19.31M
                                                                    Management
Maturity Date:                         27-Mar-2026                                           Fund 1:            Oaktree Specialty
                                                                                                                Lending BDC
Security:                              1st Lien
                                                                                             Fund 1 Amount:     $14.19M
Spread:                                LIBOR + 650
                                                                                             Fund 2:            Oaktree Strategic
Rate Type:                             Floating
                                                                                                                Income II BDC
                                                                                             Fund 2 Amount:     $5.12M

E Estimated



Deal #5: Buyout/LBO, $250.00M, Completed; 04-Jan-2018


Deal Info                                                             Company Info

Deal Types                                Buyout/LBO                  Financing Status          Private Equity-Backed
Deal Date                                 04-Jan-2018                 Business Status           Profitable
Deal Status                               Completed                   CEO/Lead Mgt              Heather Brunner
Financing Source                          Private Equity              Site                      Austin, TX
                                                                      # of Employees            500


Total Capital

Deal Amount                                         $250.00M
Post Valuation                                      $250.00M
Implied Enterprise Value                            $250.00M
Raised to Date                                      $41.30M **



Deal Synopsis

The company was acquired by Silver Lake through a $250 million LBO on January 4, 2018. The funding will accelerate innovation
and fuel future growth internationally and will help the company to further invest in its digital experience platform.

‡ Not necessarily a summation of individual debt figures
** Does not include grant funding
E Estimated


Investors (1)


Investor Name                                 Status             Lead/Sole   Comments


1. Silver Lake                                New Investor       No          Amount:                   $250.00M

                                                                             Lead Partner:             Mark Gillett



E Estimated



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Sellers/Exiters (9)


#    Seller/Exiter Name                Partial/Full           Comments


1.   Aspen Venture                     Full                    % Company Still        0.00%
                                                               Held:


2.   Bill Boebel                       Full                    % Company Still        0.00%
                                                               Held:


3.   Capital Factory                   Full                    Fund 1:                Capital Factory IV
                                                               % Company Still        0.00%
                                                               Held:


4.   Dharmesh Shah                     Full                    % Company Still        0.00%
                                                               Held:


5.   Eric Ries                         Full                    % Company Still        0.00%
                                                               Held:


6.   Guidepost Growth Equity           Full                    Fund 1:                North Bridge Growth Equity II
                                                               % Company Still        0.00%
                                                               Held:


7.   Joshua Baer                       Full                    % Company Still        0.00%
                                                               Held:


8.   Loic Le Meur                      Full                    % Company Still        0.00%
                                                               Held:


9.   Silverton Partners                Full                    Fund 1:                Silverton Partners IV
                                                               % Company Still        0.00%
                                                               Held:

E Estimated


Advisors (3)


#    Advisor Name                      Service Type     Hired By                 Comments


1.   RBC Capital Markets               Advisor:         WP Engine
                                       General


2.   Davis Polk                        Legal Advisor    Silver Lake              Lead Partner:                Alan
                                                                                                              Denenberg




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3.    Weil, Gotshal & Manges                      Legal Advisor      WP Engine                Lead Partner:               Christopher
                                                                                                                          Machera JD




Deal #4: Later Stage VC (Series C1), $23.00M, Completed; 24-Mar-2015


Deal Info                                                                 Company Info

Deal Types                      Later Stage VC, Series C1                 Financing Status          Venture Capital-Backed
Deal Date                       24-Mar-2015                               Business Status           Profitable
Deal Status                     Completed                                 CEO/Lead Mgt              Heather Brunner
Financing Source                Venture Capital                           Site                      Austin, TX
Stock Split                     3:1


Total Capital                                                             Equity

Deal Amount                                       $23.00M                 VC Round                                    4 Round
Pre-money Valuation                               $170.64M                % Acquired                                  11.88%
Post Valuation                                    $193.64M                Investor Ownership                          48.47%
Total Invested Capital                            $23.00M                 Total Invested Equity                       $23.00M
Raised to Date                                    $41.30M **



Deal Synopsis

The company raised $23 million of Series C1 venture funding from lead investor Guidepost Growth Equity on March 24, 2015,
putting the pre-money valuation at $170.64 million. The investment will fuel the company's global growth, new innovation
roadmap and focus on delivering a best-in-class customer experience. Aspen Venture and Capital Factory also participated in this
round.

‡ Not necessarily a summation of individual debt figures
** Does not include grant funding
E Estimated


Stock Info + Cap Table History


Type of Stock                             Preferred                       # of Shares Acquired                5,863,159
Series of Stock                           C1                              Conversion Ratio                    1
Shares Sought                             6,000,000
Price Per Share                           $3.92
E Shares Sought and Price Per Share calculated using the Weighted Average Method


SERIES C1 TERMS

     Liquidation Preferences                       Senior                     Anti-dilution Provisions             Weighted Average
     Participating vs. Non-participating           Non-participating          Board Voting Rights                  Yes
     Dividend Rights                               Yes

CAP TABLE HISTORY


                                                                                                                                      18
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 Stock         # Of Shares          Par Value   Original Issue       Liquidation     Liquidation Pref.     Conversion           %
               Authorized                       Price                                Multiple              Price                Owned

 Series            6,000,000        $0.000100        $3.92              $3.92                   1x                $3.92         11.88%
 C1

 Series            7,500,000        $0.000100        $2.09              $2.09                   1x                $2.09         15.19%
 C

 Series            3,900,000        $0.000100        $0.54              $0.54                   1x                $0.54         7.90%
 B

 Series            6,663,357        $0.000100        $0.18              $0.18                   1x                $0.18         13.50%
 A


Investors (3)


Investor Name                            Status                Lead/Sole        Comments


1. Aspen Venture                         New Investor          No               Form of Payment:           Cash



2. Capital Factory                       New Investor          No               Lead Partner:              Joshua Baer

                                                                                Form of Payment:           Cash

                                                                                Fund 1:                    Capital Factory IV



3. Guidepost Growth Equity               Follow-On             Yes              Amount:                    $23.00M
                                         Investor
                                                                                Lead Partner:              Douglas Kingsley

                                                                                Form of Payment:           Cash

                                                                                Fund 1:                    North Bridge Growth
                                                                                                           Equity II



E Estimated


Advisors (1)


#    Advisor Name                          Service Type          Hired By                       Comments


1.   Kastner Gravelle                      Legal Advisor         WP Engine



Investors (10)

Active Investors (1)

Name                           Investor Type         Holding     Investor         Board    Related Deals
                                                                 Since




                                                                                                                                     19
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Silver Lake                     PE/Buyout            Majority   Jan 2018            #5. Buyout/LBO: New Investor, Jan 2018,
                                                                                    Mark Gillett, $250.00M

Former Investors (9)

Name                            Investor Type        Holding    Investor   Board   Related Deals
                                                                Since

Aspen Venture                   Venture Capital      Minority   Mar 2015            #4. Later Stage VC (Series C1): New
                                                                                    Investor, Mar 2015, $23.00M
                                                                                    #5. Buyout/LBO: Seller, Jan 2018,
                                                                                    $250.00M


Capital Factory                 Venture Capital      Minority   Mar 2015            #4. Later Stage VC (Series C1): New
                                                                                    Investor, Mar 2015, Joshua Baer, $23.00M
                                                                                    #5. Buyout/LBO: Seller, Jan 2018,
                                                                                    $250.00M


Guidepost Growth                Growth/Expansion     Minority   Jan 2014            #3. Later Stage VC (Series C): New
Equity                                                                              Investor, Jan 2014, Douglas Kingsley,
                                                                                    $15.00M
                                                                                    #4. Later Stage VC (Series C1): Follow-on,
                                                                                    Mar 2015, Douglas Kingsley, $23.00M
                                                                                    #5. Buyout/LBO: Seller, Jan 2018,
                                                                                    $250.00M


Loic Le Meur                    Angel (individual)   Minority   Jan 2014            #3. Later Stage VC (Series C): New
                                                                                    Investor, Jan 2014, Loic Le Meur, $15.00M
                                                                                    #5. Buyout/LBO: Seller, Jan 2018,
                                                                                    $250.00M


Bill Boebel                     Angel (individual)   Minority   Nov 2011            #1. Early Stage VC (Series A): New
                                                                                    Investor, Nov 2011, Bill Boebel, $1.19M
                                                                                    #5. Buyout/LBO: Seller, Jan 2018,
                                                                                    $250.00M


Dharmesh Shah                   Angel (individual)   Minority   Nov 2011            #1. Early Stage VC (Series A): New
                                                                                    Investor, Nov 2011, Dharmesh Shah,
                                                                                    $1.19M
                                                                                    #5. Buyout/LBO: Seller, Jan 2018,
                                                                                    $250.00M


Eric Ries                       Angel (individual)   Minority   Nov 2011            #1. Early Stage VC (Series A): New
                                                                                    Investor, Nov 2011, Eric Ries, $1.19M
                                                                                    #5. Buyout/LBO: Seller, Jan 2018,
                                                                                    $250.00M




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Joshua Baer                 Angel (individual)    Minority    Nov 2011            #1. Early Stage VC (Series A): New
                                                                                  Investor, Nov 2011, Joshua Baer, $1.19M
                                                                                  #5. Buyout/LBO: Seller, Jan 2018,
                                                                                  $250.00M


Silverton Partners          Venture Capital       Minority    Nov 2011            #1. Early Stage VC (Series A): New
                                                                                  Investor, Nov 2011, Kip McClanahan,
                                                                                  $1.19M
                                                                                  #5. Buyout/LBO: Seller, Jan 2018,
                                                                                  $250.00M



Lenders on Deals (6)


Name                          Lender Type        Debt Provided              Related Deal(s)

Alter Domus                   Fund               Unspecified Term Loan      #7. Debt - General: Completed
                              Administrator      ($300.00M)                 #7. Debt - General: Completed
                                                 Revolving Credit
                                                 ($30.00M)


Blackstone                    Lender             Revolving Credit           #8. Dividend Recapitalization: Aug 2023,
                                                 ($16.46M)                  Completed
                                                 Unspecified Term Loan      #8. Dividend Recapitalization: Aug 2023,
                                                 ($164.57M)                 Completed


Blackstone Credit and         Lender             Revolving Credit           #8. Dividend Recapitalization: Aug 2023,
Insurance                                        ($16.46M)                  Completed
                                                 Unspecified Term Loan      #8. Dividend Recapitalization: Aug 2023,
                                                 ($164.57M)                 Completed


Golub Capital                 Lender             Revolving Credit           #8. Dividend Recapitalization: Aug 2023,
                                                 ($16.46M)                  Completed
                                                 Unspecified Term Loan      #8. Dividend Recapitalization: Aug 2023,
                                                 ($164.57M)                 Completed
                                                 Unitranche ($6.83M)        #8. Dividend Recapitalization: Aug 2023,
                                                                            Completed


Monroe Capital                Lender             Revolving Credit           #8. Dividend Recapitalization: Aug 2023,
                                                 ($16.46M)                  Completed
                                                 Unspecified Term Loan      #8. Dividend Recapitalization: Aug 2023,
                                                 ($164.57M)                 Completed


Oaktree Capital               Lender             Revolving Credit           #6. Debt - General: Mar 2020, Completed
Management                                       ($35.85M)                  #6. Debt - General: Mar 2020, Completed
                                                 Unspecified Term Loan
                                                 ($19.31M)



                                                                                                                        21
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Service Providers



General Service (2)

Service Provider Name                       Service Provided                Comments


Bridgepoint Consulting                      Consulting


Kleinberg, Kaplan, Wolff & Cohen            Legal Advisor


Service on a Deal (8)

Service Provider              Service Provided          Service To              Deal Date          Deal #          Comments
Name


Blackstone                    Debt Financing            WP Engine               14-Aug-2023            8


Blackstone Credit and         Debt Financing            WP Engine               14-Aug-2023            8
Insurance


Davis Polk                    Legal Advisor             Silver Lake             04-Jan-2018            5


RBC Capital Markets           Advisor: General          WP Engine               04-Jan-2018            5


Weil, Gotshal & Manges        Legal Advisor             WP Engine               04-Jan-2018            5


Kastner Gravelle              Legal Advisor             WP Engine               24-Mar-2015            4


Kastner Gravelle              Legal Advisor             WP Engine               14-Jan-2014            3


Simpson Thacher &             Legal Advisor             WP Engine                                      7
Bartlett



Lead Partners on Deals (13)

Investors (10)

Name                        All     Title                Representing         Deals                Phone            Email
                           Deals

Mark Gillett                  8     Managing Director    Silver Lake          #5. Buyout/LBO:      +1 (650) 233-    mgillett@silverlake.com
                                    & Head of Value                           Jan 2018,            8120
                                    Creation                                  $250.00M,
                                                                              Completed


Douglas Kingsley             23     Co-Founder &         Guidepost Growth     #4. Later Stage VC   +1 (617) 807-    dak@guidepostgrowth.com
                                    Senior Advisor       Equity               (Series C1): Mar     8800
                                                                              2015, $23.00M,
                                                                              Completed




                                                                                                                                              22
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Joshua Baer                     98     Co-Founder & Chief         Capital Factory       #4. Later Stage VC       +1 (512) 656-   josh@capitalfactory.com
                                       Executive Officer                                (Series C1): Mar         6756
                                                                                        2015, $23.00M,
                                                                                        Completed


Douglas Kingsley                23     Co-Founder &               Guidepost Growth      #3. Later Stage VC       +1 (617) 807-   dak@guidepostgrowth.com
                                       Senior Advisor             Equity                (Series C): Jan 2014,    8800
                                                                                        $15.00M,
                                                                                        Completed


Loic Le Meur                    17     Angel Investor             Loic Le Meur          #3. Later Stage VC
                                                                                        (Series C): Jan 2014,
                                                                                        $15.00M,
                                                                                        Completed


Bill Boebel                     34     Angel Investor             Bill Boebel           #1. Early Stage VC       +1 (512) 501-
                                                                                        (Series A): Nov          6265
                                                                                        2011, $1.19M,
                                                                                        Completed


Dharmesh Shah                  104     Angel Investor             Dharmesh Shah         #1. Early Stage VC       +1 (617) 401-   dharmesh.shah@hubspot.com
                                                                                        (Series A): Nov          2864
                                                                                        2011, $1.19M,
                                                                                        Completed


Eric Ries                      100     Angel Investor             Eric Ries             #1. Early Stage VC                       eric@ltse.com
                                                                                        (Series A): Nov
                                                                                        2011, $1.19M,
                                                                                        Completed


Joshua Baer                     98     Angel Investor             Joshua Baer           #1. Early Stage VC       +1 (512) 656-   josh@capitalfactory.com
                                                                                        (Series A): Nov          6756
                                                                                        2011, $1.19M,
                                                                                        Completed


Kip McClanahan                  32     General Partner            Silverton Partners    #1. Early Stage VC       +1 (512) 476-   kmcclanahan@silvertonpartners.com
                                                                                        (Series A): Nov          6700
                                                                                        2011, $1.19M,
                                                                                        Completed



Service Providers - Sell Side (2)

Name                            All         Title                   Representing           Deals                     Phone            Email
                               Deals

Christopher Machera JD           91         Partner & Co-Head,      Weil, Gotshal &        #5. Buyout/LBO: Jan       +1 (212) 310-    christopher.machera@weil.com
                                            Market-leading U.S.     Manges                 2018, $250.00M,           8080
                                            Private Equity                                 Completed
                                            practice


Jennifer Hobbs                   15         Partner                 Simpson Thacher &      #7. Debt - General:
                                                                    Bartlett               $340.00M,
                                                                                           Completed



Service Providers - Buy Side (1)

Name                            All         Title                   Representing           Deals                     Phone           Email
                               Deals

Alan Denenberg                   182        Partner, Corporate      Davis Polk             #5. Buyout/LBO: Jan       +1 (650) 752-   alan.denenberg@davispolk.com
                                                                                           2018, $250.00M,           2004
                                                                                           Completed




                                                                                                                                                              23
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Investments | Buy Side (8)

Company         Deal Date          Deal Type            Deal Size    Co-Investors       Company       Industry                 Lead
Name                                                                                    Stage                                  Partner

NitroPack       18-Jul-2024        Buyout/LBO (Add-                          1          Generating    Business/Productivity    Heather
                                   on)†                                                 Revenue       Software                 Brunner


Delicious       02-Jun-2022        Buyout/LBO†                               1                        Buildings and            Heather
Brains                                                                                                Property                 Brunner
(WordPress
Plugins
Portfolio in
Canada)


Frost           23-Dec-2021        Buyout/LBO (Add-                          1          Generating    Multimedia and
(Multimedia                        on)†                                                 Revenue       Design Software
and Design
Software)


Perfect         06-Aug-2019        Buyout/LBO (Add-                          1          Generating    Software
Dashboard                          on)†                                                 Revenue       Development
                                                                                                      Applications


Flywheel        24-Jun-2019        Buyout/LBO (Add-                          1          Generating    Internet Software        Heather
(Omaha)                            on)†                                                 Revenue                                Brunner


Array           25-Oct-2018        Buyout/LBO (Add-                          1          Generating    Media and
Themes                             on)†                                                 Revenue       Information Services
                                                                                                      (B2B)


StudioPress     27-Jun-2018        Buyout/LBO (Add-                          1          Generating    Business/Productivity    Heather
                                   on)†                                                 Revenue       Software                 Brunner


CloudMoxie      10-Jan-2014        Merger/Acquisition                                   Generating    Systems and
                                                                                        Revenue       Information
                                                                                                      Management

† Indicates an Add-On
E Estimated
x Investor Exited Deal



Affiliates

Subsidiaries (4)

Name                                        Industry                              Location                            Year Founded

Flywheel (Omaha)                            Internet Software                     Omaha, NE                                   2012


StudioPress                                 Business/Productivity Software        San Francisco, CA                           2007


NitroPack                                   Business/Productivity Software        Sofia, Bulgaria                             2018



                                                                                                                                         24
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Frost (Multimedia and Design                 Multimedia and Design Software         Austin, TX
Software)




Signals Summary

This company has a weekly growth rate of -0.37%, placing it in the 8th %ile of all growth rates tracked within PitchBook. Its
underlying data points generate a size multiple that is 3.71Kx times larger than the median of all size multiples tracked within
PitchBook, placing it in the 100th %ile of all size multiples tracked within PitchBook.




Growth Rate Summary (Weekly)                                            Size Multiple Summary (x Median)

 Similar Web Unique Visitors                                              Similar Web Unique Visitors
 341,990                                                                  341,990
                                    Web                                                                   Web
                                    -0.48%                                                                7.35Kx

 Majestic Referring Domains                     -0.37%                    Majestic Referring Domains                 3.71Kx
                                                Growth Rate                                                          Size Multiple
 139,664                                        8th %ile                  139,664                                    100th %ile




 Employee Count                     Employee                              Employee Count                  Employee
 1,000                              -0.27%                                1,000                           76.9x




Signals History

Growth Rate History                                                    Size Multiple History




                                                                                                                                     25
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Web Signals

 Unique Website Visitors 341,990                                Referring Domains 139,664
 trailing 7 day average as of 04-May-2024




  Metric                         WP Engine      All Companies    Metric                     WP Engine     All Companies
                                                      Average                                                   Average

  SimilarWeb Unique                   341,990          12,804    Majestic Referring            139,664             190
  Visitors                                                       Domains
  Growth Rate                               -          0.04%     Growth Rate                    -0.48%           0.02%
  Growth Rate                               -           20th     Growth Rate                        6th           17th
  Percentile                                                     Percentile
  Size Multiple                             -           56.2x    Size Multiple                  7.35Kx            10.0x
  Size Multiple                             -            50th    Size Multiple                   100th             50th
  Percentile                                                     Percentile


Ranking And Distribution


Weekly Growth -0.37%, 8th %ile




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                           Percentile    Min Rate       Max Rate      Avg. Rate

                           0-10            -44.2%          -0.09%           -1.09%
                           10-20           -0.08%           0.00%            0.00%
                           20-30                 -               -                -
                           30-40                 -               -                -
                           40-50                 -               -                -
                           50-60                 -               -                -
                           60-70                 -               -                -
                           70-80                 -               -                -
                           80-90            0.01%           0.10%            0.06%
                           90-100           0.11%         2.17K%             1.40%


Size Multiple 3.71Kx, 100th %ile




                           Percentile     Min Size      Max Size          Avg. Size

                           0-10              0.00x          0.16x            0.11x
                           10-20             0.17x          0.26x            0.23x
                           20-30             0.27x          0.43x            0.36x
                           30-40             0.44x          0.68x            0.57x
                           40-50             0.69x          1.00x            0.85x
                           50-60             1.01x          1.53x            1.27x
                           60-70             1.54x          2.42x            1.95x
                           70-80             2.43x          4.32x            3.25x

                                                                                             27
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                           80-90                          4.33x              10.3x              6.69x
                           90-100                         10.3x             984Kx               132x




Employee Signals

Company                                Employee        Growth Rate             Growth         Size Multiple     Size Percentile
                                         Count                               Percentile

WP Engine                                   1,000              -0.27%                14th               76.9x                98th
All Companies Average                         580                 0.17%              36th               26.6x                49th


Company signals data was calculated against 2663854 companies within all companies.



Company Signals Population: Company Signals data is tracked for active companies (i.e. have not gone out of business) that
haven’t been exited from VC, PE, or Incubator/Accelerator. Web presence is tracked only for companies whose websites are
tracked by SimilarWeb and Majestic.




Last 25 News


Internal blog post reveals Automattic’s plan to enforce the WordPress trademark using ‘nice and
not nice lawyers’

Matt Mullenweg, the WordPress co-founder and Automattic CEO, has been embroiled in a very public and legal fight with WP
Engine these last few weeks over

TechCrunch | 15-Oct-2024
Tagged entities: Automattic, WP Engine, WooCommerce

In latest move against WP Engine, WordPress takes control of ACF plugin

The dispute between WordPress founder Matt Mullenweg and hosting provider WP Engine continues, with Mullenweg
announcing that WordPress is “forking” a

TechCrunch | 12-Oct-2024
Tagged entities: WP Engine

159 employees are leaving Automattic as CEO’s fight with WP Engine escalates

The employees accepted a severance package offered to those who disagreed with Matt Mullenweg's direction of WordPress and
his fight with WP Engine.

TechCrunch | 04-Oct-2024
Tagged entities: Automattic, WP Engine

WP Engine sues Automattic and WordPress co-founder Matt Mullenweg

Hosting provider WP Engine has filed a lawsuit against Automattic and WordPress co-founder Matt Mullenweg, accusing them of
extortion and abuse of power.

TechCrunch | 02-Oct-2024

                                                                                                                             28
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Tagged entities: Automattic, WP Engine

WP Engine sues WordPress co-creator Mullenweg and Automattic, alleging abuse of power

Web hosting provider WP Engine has filed a lawsuit against Automattic, and WordPress co-founder Matt Mullenweg, accusing
them of extortion and abuse of power. The lawsuit comes after nearlytwo weeks of tussling between Mullenweg, who is also CEO
...

Yahoo Finance | 02-Oct-2024
Tagged entities: Automattic, WP Engine

Automattic demanded a cut of WP Engine’s revenue before starting WordPress battle

The drama continues.

The Verge | 02-Oct-2024
Tagged entities: Automattic, WP Engine

Legal ping-pong in the WordPress world continues as Automattic sends WP Engine a cease-and-
desist letter alleging trademark infringement

Legal ping-pong in the WordPress world continues as Automattic sends WP Engine a cease-and-desist letter alleging trademark
infringement | TechCrunch

TechCrunch | 25-Sep-2024
Tagged entities: Automattic, WP Engine

WP Engine sends cease-and-desist letter to Automattic over Mullenweg’s comments

Mullenweg, who co-created WordPress, last week criticized WP Engine for raking in profits without giving much back to the open
source project.

TechCrunch | 24-Sep-2024
Tagged entities: Automattic, WP Engine

Matt Mullenweg calls WP Engine a ‘cancer to WordPress’ and urges community to switch providers

Matt Mullenweg unleashed a no-holds-barred tirade at WP Engine, which has been commercializing WordPress since 2010.

TechCrunch | 22-Sep-2024
Tagged entities: Automattic, WP Engine

WP Engine Ireland Announces 20 New Jobs as WordPress Technology Leader Accelerates Growth in
Europe

WP Engine, the WordPress technology company serving millions of web developers, agencies and brands worldwide, today
announced 20 new job vacancies at

BusinessWire | 11-Dec-2023
Tagged entities: Business Wire, WP Engine

WP Engine Supports Accelerated Growth with Appointment of Sachin Puri as Chief Marketing
Officer


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WP Engine, the world's most trusted WordPress technology company, today announced the appointment of Sachin Puri as
Senior Vice President and Chief Ma

BusinessWire | 06-Sep-2022
Tagged entities: Business Wire, WP Engine

WP Engine Doubles Down on WordPress Technology Innovation Expanding Product & Technology
Leadership Team with New CPO and CTO

Ezinne Udezue appointed as CPO, Ramadass Prabhakar elevated to CTO, and Company Founder Jason Cohen to serve as Chief
Innovation Officer.

BusinessWire | 18-Aug-2022
Tagged entities: Business Wire, Delicious Brains (WordPress Plugins Portfolio in Canada), Hardy Transaction Management,
WP Engine

WP Engine’s Third Annual DE{CODE} Event Invites Global Developers To Be Inspired and Uplevel
Their WordPress Skills

WP Engine today announced registration is open globally for its third annual, developer-focused event, DE{CODE} 2022.

BusinessWire | 11-Mar-2022
Tagged entities: WP Engine

Web Hosting Services Market Size Rising at a CAGR of 18.0% to Reach USD 267.10 Billion in 2028

Companies Profiled in Web Hosting Services Market are AT&T Inc., GoDaddy Operating Company LLC, DreamHost, Hostinger
International, Ltd., Cloudflare,...

GlobalNewsWire | 10-Feb-2022
Tagged entities: AT&T, Clearlake Capital Group, Cloudflare, DreamHost, Equinix, GoDaddy Registry, Liquid Web, WP Engine

WordPress Hosting Cyber Monday Deals 2021: WP Engine, Bluehost, SiteGround & More Savings
Rounded Up by Deal Stripe

Cyber Monday WordPress hosting deals for 2021 are underway, compare all the top Cyber Monday Namecheap, HostGator &
Hostinger savings right here on this page ...

Market Screener | 28-Nov-2021
Tagged entities: Bluehost, SiteGround, WP Engine

Web Hosting Services Market to Reach USD 267.10 Billion by 2028, Rising at a CAGR of 18.0%

Leading companies in the global Web Hosting Services Market are SiteGround, Digitalocean, Inc., Equinix, Inc., Clearlake Capital
Group, Hostinger...

GlobalNewsWire | 21-Oct-2021
Tagged entities: 1&1 (Germany), AT&T, Clearlake Capital Group, Cloudflare, DreamHost, Equinix, GoDaddy, Liquid Web,
SiteGround, Uniregistry (Domain Registrar and Marketplace Business Division), WP Engine

Web Hosting Services Market Rising at 18.0% CAGR to Reach USD 267.10 Billion by 2028

Top Players in Web Hosting Services Market are SiteGround (Sofia, Bulgaria), Digitalocean, Inc. (New York, United States), Equinix,
Inc. ...


                                                                                                                                30
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GlobalNewsWire | 20-Apr-2021
Tagged entities: AT&T, Alibaba Cloud Computing, Clearlake Capital Group, Cloudflare, DreamHost, Equinix, GoDaddy,
Liquid Web, SiteGround, Uniregistry (Domain Registrar and Marketplace Business Division), WP Engine

Virdee Announces Strategic Financing from Leading SaaS Investors, Bringing Total Seed Funding to
$4 Million

/PRNewswire/ -- Virdee, a SaaS company delivering digital check-in and virtual concierge services to the hospitality and
commercial real estate industries, has...

PR NewsWire | 19-Apr-2021
Tagged entities: PR Newswire Association, TravelClick, Virdee, WP Engine

WP ENGINE

make|SHIFT Celebrates John Boiler, David Droga, Stephen Moy, PJ Pereira and 40+ Creatives Who Transformed Advertising
Through Creative Technology ...

Market Screener | 30-Mar-2021
Tagged entities: WP Engine

Web Hosting Services Market to Hit USD 267.10 Billion by 2028; Increasing Number of Small &
Medium Enterprises to Catalyze Market Growth: Fortune Business Insights™

Key Companies Covered in Web Hosting Services Market are SiteGround (Sofia, Bulgaria), Digitalocean, Inc. (New York, United
States), Equinix, Inc.

GlobalNewsWire | 17-Mar-2021
Tagged entities: AT&T, Alibaba Cloud Computing, Clearlake Capital Group, Cloudflare, DreamHost, Equinix, GoDaddy,
Liquid Web, SiteGround, Uniregistry (Domain Registrar and Marketplace Business Division), WP Engine

Building Your Business Online: WP Engine Announces New eCommerce Solution for Small/Medium
Businesses

WordPress eCommerce solution enables selling success for first-timers and those looking to scale their eCommerce operations
...

Market Screener | 10-Mar-2021
Tagged entities: WP Engine

WP Engine : International Growth Led by Agency Focus

Double-digit External and Internal Growth Includes Focus on New Markets and Expanding Engineering Teams ...

Market Screener | 01-Mar-2021
Tagged entities: WP Engine

WP Engine Appoints Rob Charlebois Senior Vice President of Digital and Heather Buckingham Vice
President of Brand Revenue

WP Engine announced the appointment of Rob Charlebois as Senior Vice President, Digital and Heather Buckingham as Vice
President, Brand Revenue.

BusinessWire | 22-Feb-2021
Tagged entities: WP Engine
                                                                                                                              31
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                  Case 3:24-cv-06917-AMO                            Document 42-3                 Filed 10/30/24      Page 33 of 33


WP Engine Adopts New Growth Model

WP ENGINE ADOPTS NEW GROWTH MODEL; APPOINTS VETERAN LEADERS TO NEW BUSINESS UNITS

BusinessWire | 02-Feb-2021
Tagged entities: WP Engine

WP Engine Appoints Tarsha McCormick Vice President of Diversity, Equity, Inclusion, Culture and
Engagement

WP Engine announces the appointment of Tarsha McCormick as the company’s first Vice President of Diversity, Equity, Inclusion,
Culture and Engagement.

BusinessWire | 28-Jan-2021
Tagged entities: WP Engine




UCC Filings

Top 25 Filings as Debtor

Filing                        Filing Date         Expiration Date        State Filed      Last Statement                Collateral
Number

2023 5562474                14-Aug-2023                                  DE               Original: 14-Aug-2023


2020 2247536                27-Mar-2020                                  DE               Continuation: 14-Aug-2023     All Assets


2018 7896018                14-Nov-2018                                  DE               Continuation: 27-Mar-2020     All Assets


2013 2695790                  12-Jul-2013                                DE               Termination: 12-Feb-2018      Equipment, Fixtures, Inventory,
                                                                                                                        General Intangibles, Chattel
                                                                                                                        Paper, Computer Equipment,
                                                                                                                        Negotiable Instruments, Assets,
                                                                                                                        Accounts

* Released collateral
UCC Filings have been sourced from Dun & Bradstreet who collects from individual state agencies



Filings (1)

Type                      Filed Date                Title

D                         10-Jul-2019               Notice of Exempt Offering of Securities




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